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12                             UNITED STATES DISTRICT COURT
13                              FOR THE DISTRICT OF ARIZONA
14
      Debra Hackbarth,                              Case No.: 2:15-cv-00352-SRB
15
                              Plaintiffs,
16                                                      STIPULATED JUDGMENT
      vs.
17
      Aviant Healthcare LLC, an Arizona
18
      limited liability company, CHG Capital
19    LLC, an Arizona limited liability
      company, Community Hospice Group,
20    LLC, an Arizona limited liability
      company, Copper Communities
21    Hospice, LLC, an Arizona limited
22    liability company, Hospice of the
      Southwest-West Valley, LLC, an
23    Arizona limited liability company,
      Hospice Management Group, LLC, an
24    Arizona limited liability company,
      Hospice of the Southwest, L.L.C., an
25    Arizona limited liability company,
26    Verde Valley Community Hospice,
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 1    LLC, an Arizona limited liability
      company, Wellnet Health Services LLC,
 2    an Arizona limited liability company,
 3    BTCS LLC, an Arizona limited liability
      company, M S C Holding Group LLC,
 4    an Arizona limited liability company,
      Desert Ice Enterprises, Inc., an Arizona
 5    corporation, Transition Care Holdings
      LLC, a Nevada limited liability
 6    company, The Doctor Is In LLC, a
 7    Nevada limited liability company,
      Nevada Community Hospice LLC, a
 8    Nevada limited liability company,
      Rockies Community Hospice LLC, a
 9    Colorado limited liability company, Jay
      Analovitch and Donna Analovitch, a
10
      married couple, Richard Bass and Mary
11    Bass, a married couple, Todd Leach and
      Ann Cheri Foxx Leach, MD, a married
12    couple, Russell Posorske and Jennifer
      Posorske, a married couple, and Derrick
13    Johnson and Jane Doe Johnson, a
      married couple,
14
15                        Defendants.

16         Pursuant to the stipulation of the parties and good cause appearing therefrom,
17         IT IS ORDERED, ADJUDICATED, AND DECREED that Plaintiff Debra
18   Hackbarth be awarded Judgment, jointly and severally against all Defendants to this
19   action, in the amount of $160,000 with interest to accrue at the rate of ten percent
20   (10%) simple interest per annum from the date of entry of judgment until paid in full.
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